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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
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     (Admitted pro hac vice)
     ATTORNEYS FOR DEBTOR

     In re:                                                          Chapter 11

                                                                     Case No.: 23-12825 (MBK)
     LTL MANAGEMENT LLC,1
                                                                     Judge: Michael B. Kaplan
                                 Debtor.


                                                NOTICE OF APPEAL

 Part 1: Identify the appellant

              Name of appellant: LLT Management LLC, formerly known as LTL Management LLC

 (“LTL”).2




 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.
 2
              On December 29, 2023, LTL Management LLC changed its name to LLT Management LLC.
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           Position of appellant in the bankruptcy case that is the subject of this appeal: LTL is the

 debtor.

 Part 2: Identify the subject of this appeal

           Describe the judgment, order, or decree appealed from: Under 28 U.S.C. § 158 and

 Federal Rules of Bankruptcy Procedure 8002 and 8003, Appellant hereby gives notice of appeal

 to the United States District Court for the District of New Jersey from the Bankruptcy Court’s

 Order Awarding Fees to Houlihan Lokey Capital, Inc. [Dkt. 1579] (the “Fee Order”), attached as

 Exhibit A to the Declaration of James N. Lawlor, filed contemporaneously herewith (the

 “Counsel Declaration”), and Order Denying Motion or Application for the Entry of an Order to

 Reconsider [Dkt. 1628] (the “Reconsideration Order”), attached as Exhibit B to the Counsel

 Declaration.

           State the date on which the judgment, order, or decree was entered: The Fee Order was

 entered on November 14, 2023. The court entered the Reconsideration Order on December 21,

 2023.

 Part 3: Identify the other parties to the appeal

           The names of all parties to the judgment, order, or decree appealed from and the names,

 addresses, and telephone numbers of their attorneys are attached as Exhibit C to the Counsel

 Declaration.

 Part 4: Optional election to have appeal heard by District Court

           Not applicable in this judicial district.




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 Part 5: Sign Below

 Dated: January 4, 2024

                                                 WOLLMUTH MAHER & DEUTSCH
                                                 LLP

                                                 /s/ Paul DeFilippo
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                                                 Attorneys for Debtor




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